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                       EXHIBIT 6
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    1         IN THE UNITED STATES DISTRICT COURT
    2          FOR THE NORTHERN DISTRICT OF OHIO
    3                  EASTERN DIVISION
    4
    5

           IN RE: NATIONAL                        HON. DAN A.
    6      PRESCRIPTION OPIATE                    POLSTER
           LITIGATION
    7

           APPLIES TO ALL CASES                   NO.
    8                                             l:17-MD-2804

    9

                      - HIGHLY CONFIDENTIAL -
   10
          SUBJECT TO FURTHER CONFIDENTIALITY REVIEW
   11
                                  VOLUME I
   12


   13
                             April 17, 2019
   14


   15
   16                 Videotaped deposition of
         THOMAS PREVOZNIK, taken pursuant to
   17    notice, was held at the law offices of
         Williams & Connolly, 725 12th Street,
   18    Washington, D. C., beginning at 9: 11 a. m.,
         on the above date, before Michelle L.
   19    Gray, a Registered Professional Reporter,
         Certified Shorthand Reporter, Certified
   20    Realtime Reporter, and Notary Public.
   21
   22
                  GOLKOW LITIGATION SERVICES
   23         877.370.3377 ph I 917.591.5672 fax
                        deps@golkow.com
   24


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  Golkow Litigation Services                                           Page 5
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    24

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     1    TELEPHONIC/STREAMING APPEARANCES:
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          ALSO PRESENT:
    15
          Kaitlyn Eekhoff           - Paralegal
    16    (Via telephone)
          (Motley Rice)
    17
    18    VIDEOTAPE TECHNICIAN:
          Chris Ritona
    19
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     1


     2                        THE VIDEOGRAPHER:              We are
     3               now on the record.             My name is
     4               Chris Ritona.          I am the
     5               videographer with Golkow
     6               Litigation Services.
     7                        Today's date is April 17,
     8               2019, and the time is
     9               approximately 9:11 a.m.
    10                        This video deposition is
    11               being held at Williams              &   Connolly,
    12               LLP, 725 12th Street Northwest,
    13               Washington, DC, in the matter of
    14               National Prescription Opiate
    15               Litigation, MDL No. 2804, case
    16               Number 17-MD-2804, for the United
    17               States District Court, Northern
    18               District of Ohio, Eastern
    19               Division.
    20                         The deponent today is Thomas
    21               Prevoznik.         And all counsel will
    22               be noted upon the stenographic
    23               record.
    24                         The court reporter today is
   Golkow Litigation Services                                           Page 17
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     1               Michelle Gray, and she will now
     2               please swear in the witness.
     3


     4                               THOMAS PREVOZNIK, having
     5               been first duly sworn, was
     6               examined and testified as follows:
     7


     8                           EXAMINATION
     9


    10    BY MS. MAINIGI:
    11               Q.       Good morning, Mr. Prevoznik.
    12               A.       Good morning.
    13               Q.        I will begin the
    14    questioning.          My name is Enu Mainigi, and
    15    I'm going to begin the questioning on
    16    behalf of the defendants, and then there
    17    are other defendants that may question
    1s    you after I'm done, and then the
    19    plaintiffs will question you thereafter.
    20                        Mr. Prevoznik, I have put in
    21    front of you Exhibit 1.                And Exhibit 1 is
    22    the notice of deposition.
    23                         (Document marked for
    24               identification as Exhibit
   Golkow Litigation Services                                           Page l8
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     1    report suspicious orders?
     2               A.        Yes.
     3               Q.        And there's no single
     4    feature that makes a suspicious order
     5    monitoring system compliant, correct?
     6               A.        Correct.
     7               Q.        And the DEA leaves it up to
     8    the registrant to design a system that
     9    works with its own business model and
    10    customer base, correct?
    11               A.        Correct.
    12               Q.        Does it matter to the DEA
    13    whether a registrant reviews orders
    14    manually or uses an automated system?
    15               A.        No, it doesn't matter.
    16               Q.        Other than requiring that
    17    the report, suspicious order report
    1B     clearly indicate that the order is
    19     suspicious, does DEA require suspicious
    20    order reports to follow a particular
    21     format?
    22               A.        That's correct.
    23                Q.       Let me ask the question
    24     again.      The DEA does not require
   Golkow Litigation Services                                           Page 180
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     1

     2                            CERTIFICATE
     3

     4

     5                 I HEREBY CERTIFY that the
          witness was duly sworn by me and that the
     6    deposition is a true record of the
          testimony given by the witness.
     7

                       It was requested before
     8    completion of the deposition that the
          witness, THOMAS PREVOZNIK, have the
     9    opportunity to read and sign the
          deposition transcript.
    10
    11

    12
                                       7.,.
                     MICHELLE L. GRAY,
    13               A Registered Professional
                     Reporter, Certified Shorthand
    14               Reporter, Certified Realtime
                     Reporter and Notary Public
    15               Dated: April 22, 2019
    16

    17

    1s                  (The foregoing certification
    19    of this transcript does not apply to any
    20    reproduction of the same by any means,
    21    unless under the direct control and/or
    22    supervision of the certifying reporter.)
    23

    24

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